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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

STATE OF FLORIDA,

      Plaintiff,

v.                                           Case No. 3:21-cv-1066-TKW-EMT

The UNITED STATES OF AMERICA;
et al.,

     Defendants.
____________________________________/

     FLORIDA’S RESPONSE TO DEFENDANTS’ MOTION TO STAY

      Defendants ask this Court to stay this case pending the Supreme Court’s

decision in Biden v. Texas, No. 21-954 (U.S.). Doc. 20. The two cases, however,

challenge different agency actions and present several distinct questions of law.

Moreover, a stay will cause Florida harm and the Defendants will not be prejudiced

in the absence of a stay. This Court should deny Defendants’ motion.

                                  ARGUMENT

      “The proponent of a stay bears the burden of establishing its need.” Clinton v.

Jones, 520 U.S. 681, 708 (1997). “Only in rare circumstances will a litigant in one

cause be compelled to stand aside while a litigant in another settles the rule of law

that will define the rights of both.” Landis v. N. Am. Co., 299 U.S. 248, 255 (1936).
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        This is particularly true when the basis for the requested stay is a grant of

certiorari. “The Eleventh Circuit disfavors the granting of a stay based on the

Supreme Court’s grant of certiorari.” Arkin v. Innocutis Holdings, LLC, 176 F. Supp.

3d 1313, 1314 (M.D. Fla. 2016) (citing Gissendaner v. Comm’r, Ga. Dep’t of Corr.,

779 F.3d 1275, 1284 (11th Cir. 2015)). This is because “[a] ‘grant of certiorari does

not change the law.’” Id. (quoting Rutherford v. McDonough, 466 F.3d 970, 977

(11th Cir. 2006)).

        In any event, Defendants overstate the overlap between Texas and this case,

and the other factors do not favor a stay.

   I.      FLORIDA’S CHALLENGE IS NOT SUFFICIENTLY SIMILAR TO THE TEXAS
           CHALLENGE TO WARRANT A STAY.

        On February 18, 2022, the Supreme Court granted the federal government’s

petition for certiorari in Biden v. Texas, No. 21-954, 2022 WL 497412 (U.S. Feb.

18, 2022). The two questions presented were: (1) “Whether 8 U.S.C. § 1225 requires

DHS to continue implementing [the Migrant Protection Protocols (MPP)]”; and

(2) “Whether the court of appeals erred by concluding that the Secretary’s [October

29, 2021] decision terminating MPP had no legal effect.” Pet. Writ Cert. at I, Biden

v. Texas, No. 21-954 (Dec. 29, 2021).

        While the Supreme Court’s decision in Texas may touch on certain issues in

this case—particularly the scope of DHS’s duty to detain arriving aliens under 8



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U.S.C. § 1225—it may not, and it will certainly not address several issues in this

case.

        First, Florida challenges a different agency action than the one at issue in

Texas. Florida challenges the Biden Administration’s non-detention policy and its

Parole + ATD policy. Doc. 16 ¶¶ 12–13, 19, 80, 86. In Texas, the plaintiffs

challenged the suspension of MPP, under which DHS “returned certain

undocumented aliens to Mexico for the duration of their removal proceedings.”

Texas v. Biden, 20 F.4th 928, 944 (5th Cir. 2021). Thus, whatever the Supreme Court

says in Texas, it will not address the validity of the policies challenged here.

        Second, insofar as the Court’s interpretation of § 1225 may affect this case, it

is not a foregone conclusion that the Court will address the scope of that statute at

all. Texas has already been to the Supreme Court once—when the government

requested a stay—and the Supreme Court denied a stay solely on the ground that the

termination of MPP was arbitrary and capricious under the Administrative Procedure

Act (APA). Biden v. Texas, 142 S. Ct. 926, 927 (2021) (citing DHS v. Regents of

Univ. of Cal., 140 S. Ct. 1891 (2020)). The Supreme Court may affirm the Fifth

Circuit’s decision on that same ground (or some other ground) and sidestep the

§ 1225 issue altogether. See Texas, 20 F.4th at 988–93. After all, the relevant

question in Texas is not the abstract question of what § 1225 requires but only

whether the government validly terminated the MPP program. Cf. Boxer X v. Harris,

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459 F.3d 1114, 1116 (11th Cir. 2006) (Carnes, J.) (“[T]he role of our court system

in civil cases is not to decide how many analytical angels can dance on the head of

a particular injury. Our role is to determine whether the plaintiff before the court is

entitled to relief.”)

       Third, the government stretches Texas when it suggests that the Court will

address the parole authority in 8 U.S.C. § 1182, the other principal statute at issue in

Florida’s challenge. Doc. 20-1 at 12; Doc. 16 ¶¶ 81–82, 85–86. The government’s

own cert petition emphasized that the plaintiffs in Texas never challenged the

government’s parole policies. See Pet. Writ Cert., supra at 19 (quoting the plaintiffs’

statement that “they were ‘not challenging’ DHS’s ‘parole policies’”). And neither

that statute nor even the concept of parole appears in the questions presented.

       Finally, Florida brings several claims that the Supreme Court will certainly

not address. Florida contends that both the non-detention and Parole + ATD policies

are subject to notice and comment. Doc. 16 ¶¶ 101–07. The APA’s notice and

comment requirements are not at issue in Texas. Similarly, Florida claims that the

polices are arbitrary and capricious. Id. ¶¶ 87–100. Defendants, of course, point to

the Fifth Circuit’s holding in Texas that the MPP suspension was arbitrary and

capricious. Doc. 20-1 at 13 (citing Texas, 20 F.4th at 989–93). But the fact that one

government policy is or is not arbitrary and capricious has little to do with whether

a separate government policy is arbitrary and capricious. Were Defendants’ rule

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actually applied, every APA challenge would be stayed virtually every Supreme

Court term.

   II.      THE BALANCE OF HARMS WEIGHS AGAINST A STAY OF PROCEEDINGS.
         The balance of harms also weighs in favor of denying Defendants’ motion.

Florida faces ongoing financial and other harm as a result of the Biden

Administration’s unlawful policies. See Doc. 16 ¶¶ 68–77. And contrary to

Defendants’ assertion, the Texas injunction does not “address a substantial portion

of Florida’s complaints.” Doc. 20-1 at 15. The Texas injunction only requires the

federal government to continue to implement the MPP policy in good faith and does

not enjoin enforcement of the two policies Florida challenges. See Texas v. Biden,

No. 2:21-cv-67, 2021 WL 3603341, at *27–28 (N.D. Tex. Aug. 13, 2021). In fact,

the government released over 43,000 arriving aliens at the border last month. See

Doc. 16 n.1. It is thus remarkable that the government would suggest that the Texas

injunction even remotely remedies Florida’s harm.

         Further, Florida has already suffered delays at Defendants’ hands in this case.

Florida challenged Defendants’ policy of issuing “notices to report” in September

2021, and Defendants changed that policy to the Parole + ATD policy in a November

2, 2021 memo. Doc. 16 ¶¶ 11–12 (citing Doc. 6-2). Defendants, however, did not

reveal that they had mooted part of Florida’s case until they filed their first motion




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to dismiss a month later on December 3. Doc. 6-1; Doc. 9 ¶ 2 (noting that both parties

agree that the November memo mooted Florida’s original complaint in part).

       Moreover, Florida faces the continued threat that Defendants will once again

change policies in an attempt to moot this case and prevent judicial review of their

actions. The federal government has mooted Florida’s cases in whole or in part

several times in the past year, including in this case. See, e.g., Florida v. Nelson, No.

8:21-cv-2524, 2021 WL 6108948, at *4 (M.D. Fla. Dec. 22, 2021); Florida v.

Becerra, No. 8:21-cv-839 (M.D. Fla.); Florida v. DHS, No. 8:21-cv-541 (M.D. Fla.).

       Defendants, on the other hand, did not—and indeed cannot—identify any

harm they will suffer if the case proceeds. No discovery has been served in this case.

Defendants have already filed a motion to dismiss and face no impending deadlines.

The case is not even set for trial. As such, it is not clear what “burden of litigation”

Defendants need to be “spar[ed]” from. Doc. 20-1 at 16. See Landis, 299 U.S. at 255

(“[T]he suppliant for a stay must make out a clear case of hardship or inequity in

being required to go forward, if there is even a fair possibility that the stay for which

he prays will work damage to some one else.”).

                                   CONCLUSION

       For the foregoing reasons, the Court should deny the government’s request

to stay this case.




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                       Respectfully submitted,

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               CERTIFICATE OF WORD COUNT

Consistent with Local Rule 7.1(F), this motion contains 1364 words.




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                         CERTIFICATE OF SERVICE

      I certify that on March 9, 2022, a true and correct copy of the foregoing was

filed with the Court’s CM/ECF system, which will provide service to all parties.



                                             /s/ Natalie P. Christmas
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